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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

UNITED STATES OF AMERICA
                                         Plaintiff,
v.                                                        Case No.: 1:18−cr−00611
                                                          Honorable Ronald A. Guzman
Ji Chaoqun
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, September 22, 2022:


        MINUTE entry before the Honorable Ronald A. Guzman as to Ji Chaoqun: The
parties are directed to submit to the Court's proposed order inbox a joint revised set of jury
instructions (one clean set for the jury and one set with the government9;s
jury−instruction number listed at the bottom for reference) no later than 8 a.m. on Friday,
September 23, 2022. Mailed notice. (kp, )




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